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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA


   ZACHARY CHARLES BAUGHMAN,                          Case No. 1:23-cv-21862-DPG
   individually, GEORGE SCHMIDT,
   individually, and on behalf of all others
   similarly situated,                                CLASS ACTION

                  Plaintiffs,

   v.

   BOTTOM LINE CONCEPTS LLC, a
   Florida company,

                  Defendant.


              NOTICE OF INTENT TO AMEND CLASS ACTION COMPLAINT

        Plaintiff Zachary Charles Baughmanand and Plaintiff George Schmidt give notice of their

 intent to file an amended complaint in response to Defendant’s motion to dismiss (D.E. 7) pursuant

 to, and within the time provided by, Federal Rule 15(a)(1)(B).

        DATED this 14th day of July, 2023. Respectfully Submitted,

                                               By: /s/ Avi R. Kaufman
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